     Case 2:97-cr-81440-PJD ECF No. 183, PageID.117 Filed 04/26/06 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES

              Plaintiff,

v.                                                    Case No. 97-81440

GEORGE BLAIR,                                         Honorable Patrick J. Duggan

              Defendant.
                                        /


 OPINION AND ORDER DENYING DEFENDANT’S MOTION TO CORRECT
AN ILLEGAL SENTENCE PURSUANT TO 18 U.S.C. § 3742(a)(1)(2), RULE 52(b)
                  AND/OR 18 U.S.C. § 3582(B)(2)

                        At a session of said Court, held in the U.S.
                      District Courthouse, City of Detroit, County of
                      Wayne, State of Michigan, on April 26, 2006.

              PRESENT: THE HONORABLE PATRICK J. DUGGAN
                       U.S. DISTRICT COURT JUDGE

        Defendant George Blair (“Blair”) filed this motion on April 7, 2006, seeking the

correction of his sentence in light of the Supreme Court’s decisions in Blakely v.

Washington, 542 U.S. 296, 124 S. Ct. 2531 (2004), and United States v. Booker, 543 U.S.

220, 125 S. Ct. 738 (2005). Because Blair previously moved to correct his sentence in

light of Blakely and Booker in a motion which this Court construed as a second or

successive habeas petition and therefore transferred to the Sixth Circuit Court of Appeals

and because the Sixth Circuit concluded that Blair was not entitled to relief, this Court

                                             1
   Case 2:97-cr-81440-PJD ECF No. 183, PageID.118 Filed 04/26/06 Page 2 of 4




concludes that Blair’s pending motion must be denied. Moreover, Blair’s request for

relief pursuant to 18 U.S.C. §§ 3742(a)(1)(2) and 3582(B)(2) and Rule 52(b) of the

Federal Rules of Civil Procedure is untimely.1

       Following a bench trial in 1998, Blair was found guilty of five counts of

possession with intent to distribute controlled substances in violation of 21 U.S.C. §

841(a)(1). This Court sentenced Blair to 240 months of imprisonment on counts 1 and 5,

and to 262 months of imprisonment on counts 2, 3, and 4. The Sixth Circuit subsequently

affirmed Blair’s conviction and sentence. United States v. Blair, 214 F.3d 690 (6th Cir.

2000). The Supreme Court denied Blair’s application for certiori. United States v. Blair,

531 U.S. 880, 121 S. Ct. 191 (2000).

       On March 16, 2001, Blair filed a motion pursuant to 28 U.S.C. § 2255, which this

Court denied on August 7, 2001. Blair filed a motion for reconsideration, which this

Court also denied on August 23, 2001. Blair filed a second motion for reconsideration,

which this Court denied on October 5, 2001. Approximately one week later, Blair filed

two petitions entitled “Petition Pursuant to Title 28 Federal Rules of Evidence Rule 201

Judicial Notice of Adjudicative Fact” in which he challenged his conviction in light of

Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674 (1978). The Court denied both

petitions on October 18, 2001.

       On December 11, 2002, the Sixth Circuit affirmed this Court’s denial of Blair’s


       1
        Blair refers to Rule 52(b) of the Federal Rules of Criminal Procedure, although the Court
assumes he means the Rules of Civil Procedure because Rule 52(b) of the criminal rules does not
provide a source of relief but Rule 52(b) of the civil rules addresses relief from judgment. In any
event, whether Blair is referring to the criminal or civil rules, he is not entitled to relief.

                                                2
      Case 2:97-cr-81440-PJD ECF No. 183, PageID.119 Filed 04/26/06 Page 3 of 4




Section 2255 motion in an unpublished opinion. Blair v. United States, Case No. 01-2149

(6th Cir. December 11, 2002). Blair then sought authorization from the Sixth Circuit to

file a second or successive motion to vacate sentence under Section 2255. The Sixth

Circuit denied Blair’s request. In re Blair, No. 03-2008 (6th Cir. December 17,

2003)(amended January 9, 2004).

         On March 23, 2005, Blair filed a motion to vacate judgment pursuant to Rule

60(b)(6) of the Federal Rules of Civil Procedure. In his motion, Blair asked the Court to

reconsider the constitutionality of his sentence in light of Blakely and Booker. Although

filed as a Rule 60(b)(6) motion, this Court construed Blair’s motion as a second or

successive habeas petition, concluded that the district court lacked jurisdiction to consider

Blair’s requested relief, and transferred the motion to the Sixth Circuit pursuant to 28

U.S.C. § 1631. United States v. Blair, No. 97-81440, 5/4/05 Op. and Order. On January

26, 2006, the Sixth Circuit issued an order denying Blair’s motion. In re Blair, Case No.

05-1787 (6th Cir. Jan. 26, 2006). The Sixth Circuit held:

                Blair is not entitled to the relief he seeks because his motion
                does not meet the requirements of §§ 2244(b) and 2255. Blair
                does not argue that his claim is based on newly discovered
                evidence. Similarly, Blair’s motion involves no previously
                unavailable rule of constitutional law made retroactive to
                cases on collateral review . . .

Id.

         Attempting to skirt the Sixth Circuit’s holding, Blair filed the pending motion

disguised as a motion pursuant to 18 U.S.C. §§ 3742 and 3582 and Rule 52(b). Blair

seeks the same relief, based on the same Supreme Court decisions, as his March 23, 2005


                                               3
  Case 2:97-cr-81440-PJD ECF No. 183, PageID.120 Filed 04/26/06 Page 4 of 4




motion. As the Sixth Circuit already held, when it ruled on Blair’s prior motion, that he is

not entitled to relief, this Court believes that it would be a waste of judicial resources to

construe the pending motion as another second or successive habeas petition– although it

truly is– and transfer the motion to the Sixth Circuit.

       Accordingly,

       IT IS ORDERED, that Blair’s Motion to Correct an Illegal Sentence Pursuant to

18 U.S.C. § 3742(a)(1)(2), Rule 52(b), and/or 18 U.S.C. § 3582(B)(2) is DENIED.




                                                   s/PATRICK J. DUGGAN
                                                   UNITED STATES DISTRICT JUDGE

Copies to:
George Blair
#01065-190
FCI Elkton
Federal Correctional Institution
P.O. Box 10
Lisbon, OH 44432

AUSA Karl Overman




                                               4
